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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF
                          GEORGIA ATLANTA DIVISION

 MARK ANDREWS,
                  Plaintiff,
                                                       Case No. 1:22-CV-04259-
 v.                                                    SDG
 DINESH D’SOUZA, TRUE THE VOTE,
 INC., CATHERINE ENGLEBRECHT,                     TTV DEFENDANTS’ REPLY IN
 GREGG PHILLIPS, D’SOUZA MEDIA                      SUPPORT OF MOTION TO
 LLC, SALEM MEDIA GROUP, INC.,                            DISMISS
 REGNERY PUBLISHING, INC., and
 JOHN DOES,
                  Defendants.

                                      Introduction

           The TTV Defendants submit this Reply in support of their Motion to Dismiss

to address Plaintiff’s failure to state a claim for defamation, his failure to allege the

requisite intent under the KKK Act, his failure to allege a conspiratorial agreement

among Defendants under the KKK Act to pursue an unlawful objective, and his

attempt to broaden the term “intimidation” to include stochastic or random events.

      I.      In His Response, Plaintiff Only Reaffirms His Failure to State a Claim
              Against the True the Vote Defendants for Defamation (Count III).
           Plaintiff’s Response makes abundantly clear he is not seeking redress for a

claimed defamation but attempting to use the courts to keep the TTV Defendants

from exercising their constitutional right to set forth their opinions and perspectives



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and to contribute to the marketplace of ideas. In short, Plaintiff’s claim of defamation

amounts to a SLAPP suit, and it should be dismissed.

   A. Plaintiff Acknowledges He Failed to Plead Special Damages – and Fails
      to Respond to the Argument He Is Not Entitled to Presumed Damages.
      Plaintiff’s Response is remarkably dismissive of his obligation to plead facts

supporting the element of damages. It certainly does not address his failure to plead

special damages as required to state a claim for libel per quod (as opposed to libel

per se). Zarach v. Atlanta Claims Ass’n, 500 S.E.2d 1, 4-5 (Ga. Ct. App. 1998).

Special damages “must be the loss of money, or of some other material temporal

advantage capable of being assessed in monetary value.” Id. Plaintiff’s Response on

this issue consists of a single paragraph:

      Because Mr. Andrews has pleaded defamation per se, he need not plead
      special damages. See Melton v. Bow, 247 S.E.2d 100, 101 (Ga. 1978); Compl.
      ¶ 284. Regardless, he alleges special damages. Compl. ¶¶ 217, 294; see Mar-
      Jac Poultry, Inc. v. Katz, 773 F. Supp. 2d 103, 114 (D.D.C. 2011) (plaintiff’s
      request of “special damages” in complaint is sufficient under Georgia law).
     But Katz does not stand for the proposition that the mere “request” for special

damages “is sufficient”. The Katz opinion includes a fleeting reference, in a general

description of defamation under Georgia law, that “Mar–Jac has pleaded special

damages.” Id. at 114. The comment is not even dicta. The Katz court dismissed the

plaintiff’s case, finding the speech was protected opinion, without a speck of analysis

as to the sufficiency of the pleading. Indeed, why would the Katz court perform such

an analysis if was dismissing the case anyway on other grounds?

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     Plaintiff’s Response does not even attempt to show how his pleading articulates

any sort of defamatory injury proximately caused by the Defendants. This falls far

short of the pleading requirements set out in Ashcroft v. Iqbal, 556 U.S. 662 (2009),

which holds the opposite of what Plaintiff says Katz held – that mere conclusions

are insufficient to meet federal pleading requirements.

     Plaintiff’s real argument is that he doesn’t have to plead special damages

because he has pleaded defamation per se. However, Plaintiff failed to mention

much less respond to the TTV Defendants’ argument that Plaintiff is not, as a matter

of law, entitled to presumed damages because of the unquestioned public interest in

the subject matter of the book and film. As put by the Georgia Supreme Court in

Mathis v. Cannon, 573 S.E.2d 376 (Ga. 2002) (emphases added):

     At common law, libel was a strict liability tort that did not require proof of
     falsity, fault, or actual damages. Since . . . New York Times Co. v. Sullivan, the
     law of defamation has undergone substantial changes. The Restatement now
     lists four elements in a cause of action for defamation: (1) a false and
     defamatory statement concerning the plaintiff; (2) an unprivileged
     communication to a third party; (3) fault by the defendant amounting at least to
     negligence; and (4) special harm or the “actionability of the statement
     irrespective of special harm.” When, as here, a libel action involves a speech
     of public concern, a plaintiff must show that the defendant published a
     defamatory statement about the plaintiff, the defamatory statement was false,
     the defendant was at fault in publishing it, and the plaintiff suffered actual
     injury from the statements.
That is, defamation per se is unavailable here because the libel action involves

speech of public concern. Where Plaintiff fails to establish special damages and


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where the alleged defamatory communication does not otherwise constitute

defamation per se, the claim fails as a matter of law. See, e.g., Latson v. Boaz, 278

Ga. 113, 115, 598 S.E.2d 485, 487 (2004).

      The remedy for any injury actually incurred does not appear to be the goal of

this lawsuit, but rather to attempt to discredit Defendants, cause them expense in

having to answer in litigation, and to serve as a threat to those who would consider

raising such issues as are explored in the film and book. In short, it is a SLAPP suit.

Because Plaintiff has not pleaded special damages per quod and is not entitled to

damages per se, his defamation claims must be dismissed as a matter of law.

   B. Defendants’ Statements Amount to Protected Opinion Speech.
      Defendants’ statements are not actionable because they are protected as

expressions of opinion under both the First Amendment and Georgia law. Plaintiff’s

Response misses the boat on this issue. The requirement that, to be actionable, a

statement of opinion must imply an assertion of objective facts about the plaintiff

      unquestionably excludes from defamation liability not only statements of
      rhetorical hyperbole ... but also statements clearly recognizable as pure
      opinion because their factual premises are revealed ... Both types of
      assertions have an identical impact on readers—neither reasonably appearing
      factual—and hence are protected equally under the principles espoused in
      Milkovich.
Jaillett v. Georgia Television Co., 238 Ga. App. 885, 890, 520 S.E.2d 721 (1999)

(citation omitted) (emphasis added). If the facts underlying the speaker’s statement

are not unknown, but disclosed to the reader, then the statement reflects only on the

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speaker’s interpretation of the facts. Hoffman-Pugh v. Ramsey, 193 F.Supp.2d 1295,

1302 (N.D. Ga. 2002). If the facts upon which the opinion is based are defamatory,

then the Plaintiff might be positioned to overcome a motion to dismiss and proceed

with his defamation suit. But that is not the case here.

      The issue here is not whether Andrews committed a crime, but whether what

is observed in the video could be construed to constitute a crime. Plaintiff does not

allege the video was altered in any way other than to obscure Plaintiff’s face, and it

otherwise looks exactly as produced in response to a public records request. That is,

the underlying facts are not at all defamatory in and of themselves, but simply an

accurate record of a public event. That the GBI found sufficient grounds to open an

investigation, based on the video, of Plaintiff dropping off ballots, demonstrates the

reasonableness of Defendants’ opinion that the actions depicted constitute a crime –

and opinions may be unreasonable without being actionable.

      Plaintiff cites the public statement of a GBI investigator who “unequivocally

refuted the allegations that Mr. Andrews had engaged in illegal ‘ballot harvesting’

and instead had legally deposited the ballots of his wife and three adult children.”

But this would not be the first time a citizen disagreed with the finding of an official

body. One may still be entitled to believe and say aloud that, on the facts presented,

a person acquitted of murder is still actually guilty of murder. And Plaintiff argues

the film is defamatory because it does not include a statement Plaintiff was “cleared”


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by authorities. But Georgia does not recognize “libel by omission.” Comer v.

National Bank of Ga., 363 S.E.2d 153, 154-55 (Ga. Ct. App. 1987) (“Appellant has

cited no case and we are unfamiliar with any which provide that the failure to make

a written statement has been upheld as the basis for a libel action.”).

         Plaintiff himself has amply shown that the film, and its interpretation of the

facts researched and shown therein, is a matter of fierce debate and conflicting

opinions. He wants the Court to stifle this debate and formulate an official opinion,

essentially a prior restraint on discussion generated by the film. Yet it is the video of

the Plaintiff, not the entire film, that is at issue in Plaintiff’s defamation claim. The

Defendants’ opinion on the fully disclosed fact of the video is protected speech and

Plaintiff’s defamation claims must be dismissed as a matter of law.

   II.      The Court Must Reject Plaintiff’s Attempt to Write Stochastic
            Intimidation Into Caselaw.
         Citing no supporting caselaw, Plaintiff urges this Court to create precedent

holding a party may be held liable for – and forced to endure discovery regarding –

the acts of others who are not agents of the party, not in privity with the party, and

not even known by the party. Plaintiff’s argument amounts to stochastic

intimidation, where, if a person engages in speech in any way that becomes

published, his or her liability may be randomly determined by whether unknown,

unrelated members of the general public allow themselves to be influenced by the

speech and take action, so that liability has “a random probability distribution or

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pattern that may be analyzed statistically but may not be predicted precisely”. 1 The

argument Plaintiff advances is that given a random distribution of third parties

throughout the world the TTV Defendants knew or should have known some number

of these strangers would hear of the TTV Defendants’ speech and take various

actions for which the TTV Defendants are liable. Plaintiff’s citation to Morin v.

Moore, 309 F.3d 316, 327 (5th Cir. 2002) confirms the danger of his approach: that

court held that for a defendant to be assigned liability for proximately causing a third

party’s actions, the defendant had to know the third party, and not just glancingly,

but well enough to know the third party’s age, experience, and “otherwise”.

      As Plaintiff’s argument against stochastic speech is untethered from principles

of duty, awareness, or foreseeability, it is a working definition of a violation of the

First Amendment, not to mention principles of notice and due process. And Wohl2

and other cases Plaintiff cites do not support his view. More recently, the court in


1
 See
https://www.google.com/search?q=stochastic+definition&oq=stochastic+&aqs=chr
ome.1.69i57j0i131i433i512l5j0i512j0i433i512j0i131i433i512j0i433i512.7236j1j7
&sourceid=chrome&ie=UTF-8 (accessed March 28, 2023).
2
 In its analogous analysis of standing, Wohl required showing “a causal connection
between the injury and the conduct complained of [that is] fairly traceable to the
challenged action of the defendant, and not the result of the independent action of
some third party not before the court.” Nat'l Coal. on Black Civic Participation v.
Wohl, 498 F. Supp. 3d 457, 470 (S.D.N.Y. 2020). Furthermore, the Wohl court held
the defendants there liable for the actions of the third party because he, unlike any
third parties in Plaintiff’s FAC, was hired by the defendants.

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Fair Fight v. True the Vote, No. 2:20-CV-00302-SCJ at 24 (March 9, 2023 N.D.Ga),

chose to establish some guardrails to the plaintiff’s demand there that the defendants’

free speech and due process rights be ignored in favor of vague phrases like “the

natural consequences of their actions”, holding “Defendants’ actions must have

some connection to the voters’ alleged intimidation.” (emphasis added). The court

laid out a test for “directing” third party action that Plaintiff has failed to pass:

      for Plaintiffs to succeed in their Section 11(b) claims against Defendants, they
      must show that (1) Defendants’ actions directly or through means of a third-
      party in which they directed, (2) caused, or could have caused, (3) any person
      to be reasonably [] intimidated ... from voting or attempting to vote.
Id. at 16-17 (emphasis added). This Court should similarly hold that liability may

not accrue to persons sued under either the VRA or KKK Act for the acts of third

parties (see allegations collected in TTV Defs’ Mot. to Dismiss at 13-14) where:

   • The plaintiff fails to allege he was aware of those third parties’ actions – at
     least until being informed of them by his lawyers, after they had billed time
     to search the Internet for intimidating “context”.
   • The third party is not plausibly alleged to be an agent of or in any kind of
     privity with the defendant.
   • The third party is not alleged even to be known to the defendant.

   III.    Plaintiff Alleges Only a Lawful Agreement to Engage in Parallel Acts
           Without an Intent, Agreement, or Overt Acts to Intimidate Plaintiff.




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       Plaintiff’s Response continues to push the legally meritless narrative that

    intent to harm3, conspiratorial agreement toward an unlawful objective, and overt

    acts furthering a “conspiracy” may all be pled all by pointing to the same grab-

    bag of parallel actions of lawful production and promotion4 activities with

    obvious alternative explanations:

    • The production of a film and book, and their promotion
    • The appearance of the plaintiff’s image in that media
    • The defendants’ narration about the images in that media


    A. Because Plaintiff’s “Conspiracy” Is Only a Conclusory Label, He Is
       Simply Unable to Plead the Necessary How, When, Where, or Why

       Plaintiff’s argument mirrors Reynolds v. Calhoun, 2022 WL 4349312, at *8

(M.D. Ala. Sept. 19, 2022), where the plaintiff pursuing a § 1985(3) conspiracy

claim pleaded “no facts describing how, when, where, or for what purpose these

Defendants formed this alleged conspiracy. At best, Reynolds” – exactly like


3
 Lacking facts or law to support its KKK Act claim, Plaintiff uses circular logic and
appeals to cases involving criminal intent, see U.S. v. Myers, 972 F.2d 1566, 1573
(11th Cir. 1992), saying, “because the natural and foreseeable consequence of falsely
accusing Mr. Andrews of voter fraud was to injure and intimidate him, that is
sufficient to infer Defendants’ intent.” In other words, whenever someone has
allegedly been injured by a tort, Plaintiff believes that no plausible intent to injure
must be pleaded; rather, the alleged injury alone may allow courts to “infer” the
requisite intent. Plaintiff, clearly urging nothing less than strict liability, would thus
demolish all guardrails in the pleading of mens rea.
4
 See Plf. Resp. at 14, 23; FAC ¶¶261, 262, 264 (KKK Act conspiracy), 316-18 (civil
conspiracy).
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Plaintiff – “[1] alleges actions undertaken by the Defendants collectively and then

[2] asserts a conspiracy, without [3] specifying when Defendants had time to

conspire or reach an understanding to deny Reynolds’ rights.” (emphasis added)

(quoting Myers v. Bowman, 713 F.3d 1319, 1332 (11th Cir. 2013)).

   B. Plaintiff’s Formulaic and Conclusory Allegations Are Insufficient.

      The Eleventh Circuit, in American Dental Ass'n v. Cigna Corp., 605 F.3d

1283, 1293–94 (11th Cir. 2010) (internal citations omitted; emphases added), has

explained Iqbal mandates as follows:

      our first task is to eliminate any allegations in Plaintiffs' complaint that
      are merely legal conclusions. Plaintiffs offer conclusory statements
      such as “[d]efendants have not undertaken the above practices and
      activities in isolation, but instead have done so as part of a common
      scheme and conspiracy,” and “[e]ach Defendant and member of
      the conspiracy, with knowledge and intent, agreed to the overall
      objective of the conspiracy . . .” These are the kinds of “formulaic
      recitations”        of     a conspiracy claim       that      the    Court
      in Twombly and Iqbal said were insufficient.

Here, once we remove the “conclusory elements” and the “formulaic recitations” of

Plaintiff’s conspiracy claims, nothing but the “parallel action” of their independent

practices of narrating, producing, and promoting films and books remains. What

remains is merely the “wide swath of [the Defendants’] rational and competitive

business strategy unilaterally prompted by common perceptions of the market” for

their media. See Twombly, 550 U.S. at 554. “Alleged parallel practices, without

more, cannot create an inference or a conspiracy . . . where, as here, the practices”


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are in the Defendants’ “economic self-interest. The practices are as consistent with

independent as with concerted actions.” See Quality Auto Painting Ctr. of Roselle,

Inc. v. State Farm Indem. Co., 917 F.3d 1249, 1268 (11th Cir. 2019) (quoting

Proctor v. State Farm Mutual Automobile Insurance Co., 675 F.2d 308 (D.C. Cir.

1982) (emphasis added)).

      That film and book media, once assembled by editors, happen to feature

images of dozens of people does not magically create a conspiracy to feature the

images, let alone plausible allegations of a conspiratorial intent to harm a single

plaintiff. “On a Rule 12(b)(6) motion to dismiss, the Court does not accept as true

unwarranted deductions of fact.” Almanza, 851 F.3d at 1071. Conspiracy requires

something more. It requires some “factual enhancement” beyond mere parallel

action. See Powell v. United States, 800 F. App'x 687, 701 (11th Cir. 2020). And the

Eleventh Circuit has rejected Plaintiff’s argument that, essentially, “if Defendants

have engaged in parallel conduct that is unlawful [like intimidating him], the

unlawfulness of the parallel conduct provides the further factual enhancement

needed to support a plausible inference of an agreement.” Almanza, 851 at 1069. It

does not. Though Defendants’ acts are alleged to be unlawful, they “are still just

allegations of parallel conduct.” Id. (concluding “there was an ‘obvious alternative

explanation’ for each of the collective actions alleged that suggested lawful,

independent conduct”). Even “conscious parallelism and interdependence” – the


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most Plaintiff alleges – are insufficient to plead conspiracy. Id. “To cross the line

from a possible to a plausible existence of an agreement, plaintiffs must allege a

further circumstance pointing toward a meeting of the minds.” Id. at 1068. In short,

defendants may independently violate the same rights without making plausible a

conspiracy to have done so.

      Plaintiff does not and cannot “rule out”, or “contradict”, the FAC’s obvious

alternative explanations that the defendants were producing and promoting a book

and film about ballot-stuffing – not embarking on a campaign to harm Mark

Andrews – and that the film and book could have easily come to feature images and

narration of people (like Plaintiff and dozens of others) putting those ballots in ballot

boxes without any conscious agreement by all the Defendants to try to harm any of

the people in those images. 5 Even Plaintiff’s “circumstantial evidence must

reasonably tend to exclude the possibility that the alleged conspirators acted

independently.” Seagood Trading Corp. v. Jerrico, Inc., 924 F.2d 1555, 1574 (11th

Cir. 1991) (emphasis added) (cleaned up). That’s why Plaintiff is reduced to making


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  Compare Shaffer v. Cook, 634 F.2d 1259 (10th Cir.1980), cert. denied 451 U.S.
984 (1980) (where there were no facts to indicate that the judge and attorneys acted
outside the obvious alternative explanation of a judicial process, plaintiff’s claim
he’d seen his defense attorneys speaking to the judge could raise no factual question
of conspiracy) with Faith Enterp. Grp. Inc. v. Avis Budget Grp, Inc., 2012 WL
1409403 at 2-3 (N.D. Ga. Apr. 20, 2012) (holding plaintiff supported “plausible
inference” of unlawful activity that contradicted defendants’ alternative explanation
where plaintiff alleged specific details of defendant’s illegitimate reasons for falsely
listing rental cars as “sold out”).
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the circular argument that there must have been an unlawful conspiracy to harm him

because he was harmed. See Plf. Resp. at 24 (“what makes this an unlawful

conspiracy … is the unlawful purpose—namely, to injure and defame Mr.

Andrews.”).

      Even a “vow to seek revenge”, which is already a more affirmative expression

of intent to harm than Plaintiff alleges in his entire FAC, does not “allege[] any facts

showing an agreement to violate” a plaintiff’s rights. Clement v. Floyd Cnty. Police

Dep't, 2014 WL 12774725, at *3 (N.D. Ga. May 15, 2014), report and

recommendation adopted, 2014 WL 12774862 (N.D. Ga. May 29, 2014) (emphasis

added). Merely “stringing together adverse acts of individuals,” as Plaintiff does, is

also “insufficient to demonstrate the existence of a conspiracy.” Hein v. Kimbrough,

942 F. Supp. 2d 1308, 1313 (N.D. Ga.), aff’d, 545 F. App’x 926 (11th Cir. 2013);

see Harvey v. Harvey, 949 F.2d 1127, 1133 (11th Cir. 1992) (holding allegations of

plaintiff merely “str[u]ng together the discrete steps of the committed process,”

without showing contacts between the defendants that could prove they had “reached

an understanding” to violate her rights).

      Plaintiff argues “the pleading standard ‘simply calls for enough facts to raise

a reasonable expectation that discovery will reveal evidence of illegal agreement.’”

Plf. Resp. at 22 (citing Twombly). But the Twombly Court rejected Plaintiff’s hope

for the “prospect of unearthing direct evidence of conspiracy [in discovery] . . . even


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though the complaint does not set forth a single fact in a context that suggests an

agreement.” Id. at 561–62 (emphasis added). Plaintiff’s allegations have also failed

Twombly’s requirement to plead context suggesting a preceding agreement.

   C. Plaintiff Failed to Plausibly Plead the TTV Defendants Agreed to the
      Specific Unlawful Objective of Harming Mr. Andrews.
      Equally conclusory is Plaintiff’s allegation that because the book and film

featured his image, Defendants somehow must have gotten together and agreed

specifically to harm him. In Frazier, 349 Ga. App. 507, 510, 826 S.E.2d 361, 364,

the Court of Appeals held the conspiracy alleged there could not plausibly consist of

some general intention to do something wrong, or other “natural and foreseeable

consequences” of one’s actions, but must have had the goal of doing something

specific, like shooting an officer: “the State failed to show an agreement [among the

defendants], tacit or otherwise, to commit aggravated assault on the officer, because

there is no evidence showing a mutual understanding between [them] to pursue the

common criminal objective of shooting the officer.” Id. (emphasis added). That’s

why the Court must reject Plaintiff’s attempt to argue that Defendants agreed on the

general “conspiracy” to produce a book and film while failing to plead

nonconclusory facts plausibly alleging either that Defendants consciously had an

unlawful objective (1) in general – such as to intimidate voters – or (2) a

particularized goal to intimidate Mark Andrews.



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      Again and again, Plaintiff merely restates the facts of his intimidation case,

and then tacks on a conclusory coda saying, in essence, “. . . and Defendants

conspired to intimidate him.” See, e.g., Plf. Resp. at 33 (citing Complaint). Plaintiff’s

Section 11(b) allegations simply cannot be repurposed to its KKK Act claims,

because (1) the latter’s conspiracy requirement mandates a particularized intent

lacking here and (2) Plaintiff failed to allege any details of how Defendants came to

talk about Mark Andrews or even what to say about him or why.

        Respectfully submitted this 8th day of May 2023.

                                  /s/ Molly Parmer
                                  MOLLY PARMER (GA Bar No. 942501)
                                  1201 W. Peachtree Street, NW, Suite 2300
                                  Atlanta, Georgia 30309
                                  Telephone: (404) 795-5060
                                  Facsimile: (404) 795-5117
                                  molly@parmer.law

                                 MICHAEL J. WYNNE* (TX Bar No. 00785289)
                                 CAMERON POWELL* (DC Bar No 00459020)
                                 JOSEPH R. LARSEN* (TX Bar No. 11955425)
                                 GREGOR WYNNE ARNEY PLLC
                                 909 Fannin Street, Suite 3800
                                 Houston, Texas 77010
                                 (281) 450-7403
                                 mwynne@gwafirm.com
                                 cpowell@gwafirm.com
                                 jlarsen@gwafirm.com

                                  Attorneys for Defendants True the Vote,
                                  Catherine Englebrecht and Gregg Phillips.

                                  *Admitted Pro Hac Vice


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                      RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

      This 8th day of May 2023.

                                             /s/ Molly Parmer
                                             MOLLY PARMER
                                             Georgia Bar No. 942501

                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the within

and foregoing TTV DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO

DISMISS was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to all

attorneys of record via the CM/ECF system.

      This 8th day of May 2023.

                                             /s/ Molly Parmer
                                             MOLLY PARMER
                                             Georgia Bar No. 942501




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